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                              UNITED STATES DISTRICT COURT                                          JS-6
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.     CV 20-11375-JFW(Ex)                                           Date: October 13, 2021

Title: Myron Hale -v- U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust, et al.


PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                                 None Present
             Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               DISMISSAL OF ACTION FOR LACK OF
                                         PROSECUTION

On March 29, 2021, the Court issued an Order to Show Cause Re: Lack of Prosecution. Plaintiff
was warned that failure to respond would result in the dismissal of this action if good cause was
not shown for any extension of time. Plaintiff was to respond to the Court's Order to Show Cause
no later than April 12, 2021.

As of the date of this Order, there has been no response to the Court's Order to Show Cause or
any attempt by Plaintiff to pursue this action. Accordingly, this action is hereby DISMISSED without
prejudice.


IT IS SO ORDERED.




                                                                               Initials of Deputy Clerk sr
